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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

IN RE:   CA' go L'(/\J   f/.'11_,,!l:'"--------                         Case #   IOI• 1-6 'f b4 lVtqY\
            TRUSTEE'S NOTICE OF DEFICIENCY FOR CONFIRMATION (legal issues: 341)

The Trustee reviewed this case for the meeting of creditors and found the following deficiencies from the Trustee's
Notice of Required Documents, prior deficiencies, and legal issues and thus objects as follows:
Trustee reserves the right to raise additional objections until all requested documents are timely provided.
                                                        Reviewed documents received as of _ _ _ _ _ __

/objection to Exemption (specifics to be filed) to be heard with confirmation at 1:30 pm not at 9:00 am
 -~application needed (set court guideline 6)
 ~Ch 7 is$ 5 J 2 '2:!). r:::() may increase as documents not provided 0 Tax refund 0 Valuations 0 Other
 _ Good faith payment to unsecured creditors
 _Income understated per debtor's stubs$           taxes$           co-debtor stubs$           taxes$ _ __
 _ Proof of household size (government ID w/ address) and income of all adults disclosed on Sch J and CMI
 _Spouse's pay advices
 _ Schedule J Expenses objectionable: 0 Provide Proof line                        0 Line _ _ _ _ _ __
         0 Object to Schedule J expenses but debtor(s) are over median or 100% plan filed
 _Expenses: documentation/calculation: CMI l i n e - - - - - - - - - - - - - - - - - - - - - - -


_Plan does not pay debtor's calculation of disposable income CMI/DI                x 60 = $_ _ _ __
   0 Pending income/expenses issues 0 Trustee believes D/I is understated (estimated D/I $ _ _ _ _ _~
0 Feasibility or 0 plan payments reduce month           or 0 balloon payment
_Plan does not conform to Applicable Commitment Period< 36 months< 60 months
   Info on transfer SOFA              undisclosed                0 provide Tolling Agreement(s)
Other:               '




                                                                                 0 Plan includes 100% Language

On or before 5 pm on
                         OCT      4                     ·
                                           , all docJments/explanations with documented back up must be
received/filed to avoid dismissal. If documents are not timely filed/received by the trustee, the trnstee may seek
dismissal of this case. IMPORTANT NOTICE:.~ The debtor or debtor's attorney must appear at the confirmation
hearing even i[they agree to the recommendation. The debtor i:nay still be dismissed for failure to fund the plan if they
are delinquent in payments.                                    ·
THE PRO SE DEBTOR OR DEBTOR'S ATTORNEY MUST CONTACT THE TRUSTEE'S OFFICE AND SPEAK
TO AN ATTORNEY BEFORE 2PM ONE BUSINESS DAY PRIOR TO THE CONFIRMATION HEARING TO
RESOLVE ALL OUTSTANDING ISSUES. Attorneys must upload all documents to Trustee through
13Documents.com.

         I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor's attorney
or by U.S. First Class pre-paid Mail on the pro se debtor on the same day filed with the Court.
 Submitted by
NANCY K. NEIDICH, ESQ, ST ANDING CHAPTER 13 TRUSTEE P .0. BOX 279806, MIRAMAR, FL 33027
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    RE: Carolyn Ruiz                                                                                             Case# 19-20404 RAM
           TRUSTEE'S NOTICE OF DEFICIENCY FOR CONFIRMATION AND RECOMMENDATION (Pre 341)
         The Trustee reviewed this case for the meeting of creditors and found the following deficiencies from the Trustee's letter requesting
                                documents and thus objects as follows: Reviewed documents received prior to: 8/20/19
         Tax returns:                                        Corporate Tax Returns:
         Photo ID                  LF 90                       LF 67        LFIO
         Plan does not fund properly
         Calculation errors       Missing months/amounts           Inconsistent terms        Plan form completed incorrectly
         Attorney fee itemization or Fee Application needed (see court guideline 6)
   ./ 2016(B), SOFA #16 and Plan do not match
   ./ Other provisions: ,/ IVL                          100%        Lawsuit       Gambling         MMM
         Reaffirm, redeem or surrender Sch D or G creditor:
         MMM Motion not filed ,/ Valuation motion not filed                               Lien Avoidance motion not filed
         Priority debt on Schedule E not in plan:
         Creditor in Plan is not listed in Schedules or has not filed a POC:
         Creditor paid through the Plan has not filed a POC:
         Object or Conform to Proof of Claim:          Miami-Dade County           Tax Certificate (DE#               Dept of Revenue
             IRS
   ./    OTHER PLAN ISSUES: Amend plan- SEC.I to c01Tect marked boxes (valuation)., include case number
          SEC. III-B#l creditor address & account# to match POC#l




         Real Estate FMV and Payoff:
         Non-Homestead Information Sheet:
   ./ Vehicles FMV (NADA/Carmax), Reg and~ 13' CAMRY
         Other:
   ./ Bank Account Statements              3 months pre-petition #9070 (6/1-8/2) #8993 ( 6/27-8/2)



         Copy of check(s) and/or explanation:
         Explanation ofwithdrawal(s):
         401 K/Retirement/Pension                           Annuity                             Life Insurance Policy
iJ!!'   f mhestic Support Obligation form complete with info: name, address and phone
        Wage deduction order or Motion to waive
         BDQ & attachments                          Profit/loss       Balance Sheet
        Business Bank statements and checks             3 months pre-petition



         Affidavit of support
       Trustee reserves the right to raise additional objects until all requested documents are timely provided. This deficiency is limited to
    missing documents only. The Trustee will file a Notice of Deficiency with additional document requested and legal issues raised after the
       341 - meeting of creditors. I hereby ce1iify that a true and correct copy of the foregoing was served through ECF on the debtor's
                     attorney or by U.S. First Class pre-paid Mail on the prose debtor on the same day filed with the Court.
         Submitted by NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE P.O. BOX 279806, MIRAMAR, FL 33027
        *DOCUMENTS MUST BE RECEIVED OR FILED AND ISSUES ADDRESSED AT LEAST FOURTEEN DAYS PRIOR TO EACH
                                  CONFIRMATION HEARING TO AVOID DISMISSAL*
